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                                   EXHIBIT B

                        Copy of All Filings with State Court
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                                                        261st District Court

                                                        Case Summary
                                                    Case No. D-1-GN-18-001835


HESLIN V JONES                                                   §              Location: 261st District Court
                                                                 §              Filed on: 04/16/2018



                                                       Case Information

                                                                                  Case Type: Defamation
                                                                                 Case Status: 11/06/2019 Open
                                                   Assignment Information

             Current Case Assignment
             Case Number D-1-GN-18-001835
             Court         261st District Court
             Date Assigned 04/16/2018



                                                       Party Information

Defendant FREE SPEECH SYSTEMS LLC REYNAL, FEDERICO ANDINO
                                  Retained
                                                  Blott, Jacquelyn W
                                                  Retained
              INFOWARS LLC                        REYNAL, FEDERICO ANDINO
                                                  Retained
                                                  Blott, Jacquelyn W
                                                  Retained
              JONES, ALEX E                       Blott, Jacquelyn W
                                                  Retained
                                                  REYNAL, FEDERICO ANDINO
                                                  Retained

              SHROYER, OWEN                       Blott, Jacquelyn W
                                                  Retained



                                                          Case Events

04/16/2018     ASM:GN CIVIL PETITION
                 Event Code: 600 Adjmt Amount: 307.00
04/16/2018
               ORIGINAL PETITION/APPLICATION
                 PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOUSRE Event Code: 5050
04/16/2018     NEW:ORIGINAL PETITION/APPL (OCA)
                 Event Code: 4500
04/23/2018
               LETTER/EMAIL/CORR
                 LETTER REQUESTING ISSUANCE (CITATION) Event Code: 5414
04/27/2018     ASM:CITATION ISSUE
                 Event Code: 702 Adjmt Amount: 32.00
06/18/2018
               ANSWER

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                                               Case Summary
                                            Case No. D-1-GN-18-001835
               DEFENDANTS' ORIGINAL ANSWER Event Code: 5150
               Party: Defendant JONES, ALEX E
06/27/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
06/28/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
06/29/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
               Party: Defendant JONES, ALEX E
06/29/2018
             NTC:ATTORNEY/COUNSEL
               SUBSTITUTION OF COUNSEL Event Code: 5550
               Party: Defendant JONES, ALEX E
07/13/2018
             AMENDED/SUPPLEMENTED ANSWER
               DEFENDANTS' FIRST AMENDED ANSWER Event Code: 5152
               Party: Defendant JONES, ALEX E
07/13/2018
             MOTION
              DEFENDANTS' MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTI CIPATION ACT Event Code: 5265
              Party: Defendant JONES, ALEX E
07/19/2018
             NOTICE
               NOTICE OF HEARING Event Code: 5554
               Party: Defendant JONES, ALEX E
07/23/2018
             LETTER/EMAIL/CORR
               LETTER FROM: MARK C. ENOCH Event Code: 5414
               Party: Defendant JONES, ALEX E
08/10/2018
             ASSIGNMENT BY PRESIDING JUDGE
               ASSIGNMENT BY PRESIDING JUDGE Event Code: 5423
08/16/2018
             LETTER/EMAIL/CORR
               LETTER FROM SCOTT H JENKINS JUDGE 53RD DISTRICT COURT TRAVIS COUNTY, TEXAS Event Code: 5414
08/17/2018
             MOTION
              PLAINTIFF'S MOTION FOR SANCTIONS FOR INTENTIONAL DESTRUCTION OF EVIDENCE Event Code: 5265
08/17/2018

MOTION
 PLAINTIFF'S MOTION FOR EXPEDITED DISCOVERY IN AID OF PLAINTI FF'S RESPONSE TO DEFENDANTS' TCPA MOTION
 Event Code: 5265
08/21/2018
             LETTER/EMAIL/CORR
               LETTER FROM MARK C. ENOCH Event Code: 5414
               Party: Defendant JONES, ALEX E
08/23/2018

RESPONSE
  DEFENDANTS' RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR EXPEDITED DISCOVERY Event
  Code: 5153
  Party: Defendant JONES, ALEX E
08/27/2018


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                                             Case Summary
                                       Case No. D-1-GN-18-001835
RESPONSE
  PLAINTIFF'S RESPONSE TO DEFENDANTS' MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT Event
  Code: 5153
08/27/2018

AFFIDAVIT
  SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' MOTION TO D ISMISS UNDER THE TEXAS CITIZEN
  PARTICIPATION ACT Event Code: 5401
  Party: Defendant JONES, ALEX E
08/27/2018

AMENDED/SUPPLEMENTED ANSWER
  DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR EXPEDITED
  DISCOVERY AND DEFENDANTS ' MOTION FOR SANCTIONS Event Code: 5152
  Party: Defendant JONES, ALEX E
08/28/2018

!AFFIDAVIT
  SUPPLEMENTAL AFFIDAVITS IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS UNDER THE TEXAS CITIZENS
  PARTICIPATION ACT Event Code: 5482
  Party: Defendant JONES, ALEX E
08/28/2018

!AFFIDAVIT
  SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMEND ED RESPONSE TO PLAINTIFF'S MOTION FOR
  SANCTIONS AND MOTION F OR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS Event Code: 5482
  Party: Defendant JONES, ALEX E
08/29/2018

OBJECTIONS
  DEFENDANTS' OBJECTIONS TO PLAINTIFF'S EVIDENCE SUBMITTED IN RESPONSE TO DEFENDANTS' MOTION TO DISMISS
  UNDER THE TEXAS CI TIZENS PARTICIPATION ACT Event Code: 5156
  Party: Defendant JONES, ALEX E
08/29/2018

OTHER
  DEFENDANTS' FIRST SUPPLEMENT TO MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT Event
  Code: 5415
  Party: Defendant JONES, ALEX E
08/29/2018

AFFIDAVIT
  AUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMEND ED RESPONSE TO PLAINTIFF'S MOTION FOR
  SANCTIONS AND MOTION F OR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS Event Code: 5401
  Party: Defendant JONES, ALEX E
08/29/2018
             AMENDED/SUPPLEMENTED ANSWER
               DEFENDANTS' SECOND AMENDED ANSWER Event Code: 5152
               Party: Defendant JONES, ALEX E
08/30/2018

MOTION
 DEFENDANTS' SECOND SUPPLEMENT TO MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT Event
 Code: 5265
 Party: Defendant JONES, ALEX E
08/30/2018

AFFIDAVIT
  SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMENDED RESPONSE TO PLAINTIFF'S MOTION FOR
  SANCTIONS AND MOTION FOR EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS Event Code: 5401
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                                                 Case Summary
                                             Case No. D-1-GN-18-001835
  Party: Defendant JONES, ALEX E
08/30/2018
             LETTER/EMAIL/CORR
               LETTER Event Code: 5414
               Party: Defendant JONES, ALEX E
08/30/2018
             LETTER/EMAIL/CORR
               LETTER/EMAIL/CORR Event Code: 5414
08/31/2018

ORDER
  ORDER ON PLAINTIFFS' MOTION FOR EXPEDITED DISCOVERY IN AID O F PLAINTIFF'S RESPONSE TO DEFENDANTS' TCPA
  MOTION Event Code: 8225
09/11/2018

OTHER
  DEFENDANTS' REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS TO PLAINTIFF'S EVIDENCE Event Code: 5415
  Party: Defendant JONES, ALEX E
09/14/2018
             LETTER/EMAIL/CORR
               LETTER FROM MARK C. ENOCH Event Code: 5414
               Party: Defendant JONES, ALEX E
09/25/2018

OTHER
  DEFENDANTS' SECOND RENEWED REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS TO PLAINTIFF'S EVIDENCE
  Event Code: 5415
  Party: Defendant JONES, ALEX E
09/28/2018
             MOTION
              DEFENDANTS' MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER Event Code: 5265
              Party: Defendant JONES, ALEX E
10/01/2018
             MTN:MODIFY, REDUCE, ENFO,CONTE
               PLAINTIFF?S MOTION FOR CONTEMPT UNDER RULE 215 Event Code: 5261
10/02/2018
             NOTICE OF APPEAL
               DF-1 NOTICE OF APPEAL Event Code: 5553
               Party: Defendant JONES, ALEX E
10/02/2018
             LETTER/EMAIL/CORR
               LETTER TO JUDGE JENKINS Event Code: 5414
               Party: Defendant JONES, ALEX E
10/03/2018   ASM:CV MOTION FOR CONTEMPT
               Event Code: 635 Adjmt Amount: 80.00
10/03/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
10/10/2018
             DESIGNATION CLRKS/REPORTR REC
               DF-1 DESIGNATION FOR COURT REPORTER'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
10/10/2018
             DESIGNATION CLRKS/REPORTR REC
               DF-1 DESIGNATION FOR CLERK'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
10/10/2018   ASM:CLERKS RECORD
               Event Code: 939 Adjmt Amount: 3192.00
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                                                     Case Summary
                                            Case No. D-1-GN-18-001835
               Party: Defendant JONES, ALEX E
10/10/2018
             MSF:BILL OF COST FOR CLERK REC
               Form Number B03-2686 Issued by HAMILTON LYNDA SELINA (102) MSF:BILL OF COST FOR C Event Code: 102
               Party: Defendant JONES, ALEX E
10/11/2018
             CLERKS RECORD TRANSMITTAL
               FILED CLERK'S RECORD BY 3RE COA / HAND DELIVERED Event Code: 5606
10/11/2018

CLERKS RECORD TRANSMITTAL
  FILED BY 3RD COA EXHIBITS TO BE INCLUDED WITH CLERK'S RECORD /// HAND DELIVERED Event Code: 5606
10/15/2018
             LETTER/EMAIL/CORR
               LETTER TO COURT OPERATIONS OFFICER Event Code: 5414
               Party: Defendant JONES, ALEX E
10/26/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
10/26/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
10/26/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
11/06/2018
             SUPPL DESIGNATION CLERK RECORD
               DF-1 DESIGNATION FOR SUPPLEMENTAL CLERK'S RECORD Event Code: 5441
               Party: Defendant JONES, ALEX E
11/07/2018   ASM:CLERKS RECORD
               Event Code: 939 Adjmt Amount: 11.00
               Party: Defendant JONES, ALEX E
11/07/2018
             MSF:BILL OF COST FOR CLERK REC
               Form Number B03-2709 Issued by HAMILTON LYNDA SELINA (102) MSF:BILL OF COST FOR C Event Code: 102
               Party: Defendant JONES, ALEX E
12/07/2018
             LETTER/EMAIL/CORR
               VACATION LETTER Event Code: 5414
12/07/2018
             MSF:2ND NOT BILL CLERKS RECORD
               Form Number B04-162 Issued by HELEN (103) MSF:2ND NOT BILL CLERKS RECOR Event Code: 103
               Party: Defendant JONES, ALEX E
12/10/2018
             CLERKS RECORD TRANSMITTAL
               TAMES RECORD SUBMISSION FOR SUPPLEMENTAL CLERK'S RECORD Event Code: 5606
12/11/2018
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
06/26/2019
             PLEADING
               PLAINTIFF'S FIRST AMENDED PETITION Event Code: 5054
08/08/2019
             PLEADING
               PLAINTIFF'S THIRD AMENDED PETITION Event Code: 5054
08/30/2019
             ORD:JUDGMENT

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                                                 Case Summary
                                       Case No. D-1-GN-18-001835
               OPINION AND JUDGMENT FROM 3RD COA Event Code: 8216
09/30/2019

RESPONSE
  PLAINTIFF'S SUPPLEMENTAL RESPONSE TO DEFENDANTS' MOTION TO D ISMISS UNDER THE TEXAS CITIZENS
  PARTICIPATION ACT Event Code: 5153
10/01/2019
             ANSWER
               DEFENDANTS' STIPULATION AND RESPONSE TO PLAINTIFF'S THIRD AM ENDED PETITION Event Code: 5150
               Party: Defendant JONES, ALEX E
10/18/2019

ORDER
  ORDER ON PLAINTIFF'S MOTION FOR CONTEMPT UNDER RULE 215 AND DEFENDANTS' MOTION TO DISMISS UNDER THE
  TCPA Event Code: 8225
11/04/2019
             MTN:SUB & OR WITHDRAW COUNSEL
               MOTION FOR SUBSTITUTION OF COUNSEL Event Code: 5268
               Party: Defendant JONES, ALEX E
11/06/2019
             NTC:ATTORNEY/COUNSEL
               NOTICE OF APPEARANCE OF COUNSEL Event Code: 5550
               Party: Defendant JONES, ALEX E
11/07/2019
             NOTICE OF APPEAL
               DEFENDANTS' NOTICE OF INTERLOCUTORY APPEAL Event Code: 5553
               Party: Defendant JONES, ALEX E
11/07/2019
             DESIGNATION CLRKS/REPORTR REC
               DESIGNATION OF COURT REPORTER'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
11/07/2019
             DESIGNATION CLRKS/REPORTR REC
               DESIGNATION OF FILINGS FOR CLERK'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
11/08/2019   ASM:CLERKS RECORD
               Event Code: 939 Adjmt Amount: 3303.00
               Party: Defendant JONES, ALEX E
11/08/2019
             MSF:BILL OF COST FOR CLERK REC
               Form Number B03-2966 Issued by HAMILTON LYNDA SELINA (102) MSF:BILL OF COST FOR C Event Code: 102
               Party: Defendant JONES, ALEX E
11/12/2019
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
11/13/2019
             DESIGNATION CLRKS/REPORTR REC
               REQUEST FOR COURT REPORTER'S RECORD Event Code: 5409
               Party: Defendant JONES, ALEX E
11/18/2019
             LETTER/EMAIL/CORR
               RECORD SUBMISSION FOR CLERK'S RECORD CHAND DELIVERED TO 3RD COA Event Code: 5414
11/19/2019
             UNSIGNED/PROPOSED ORDER
               UNSIGNED ORDER Event Code: 5422
11/19/2019
             LETTER/EMAIL/CORR
               LETTER FROM 3RD COA Event Code: 5414
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                                           Case No. D-1-GN-18-001835
12/04/2019
             ORD:MANDATE
               MANDATE FROM 3RD COA Event Code: 8218
03/25/2020
             ORD:JUDGMENT
               MEMORANDUM OPINION AND JUDGMENT FROM 3RD COA Event Code: 8216
06/26/2020
             LETTER/EMAIL/CORR
               LETTER/EMAIL/CORR Event Code: 5414
07/06/2020
             LETTER/EMAIL/CORR
               LETTER/EMAIL/CORR FROM THIRD COURT OF APPEALS Event Code: 5414
01/22/2021
             OTHER
               LETTER FROM THE SUPREME COURT OF TEXAS Event Code: 5415
02/19/2021
             OTHER
               LETTER TO SUPREME COURT OF TEXAS Event Code: 5415
02/23/2021
             OTHER
               LETTER TO SUPREME COURT OF TEXAS Event Code: 5415
02/24/2021
             OTHER
               LETTER FROM SUPREME COURT OF TEXAS Event Code: 5415
03/09/2021
             ASSIGNMENT BY PRESIDING JUDGE
               ASSIGNMENT LETTER FROM JUDGE LIVINGSTON TO COUNSEL Event Code: 5423
03/10/2021
             ASSIGNMENT BY PRESIDING JUDGE
               ASSIGNMENT BY PRESIDING JUDGE Event Code: 5423
03/11/2021
             OTHER
               LETTER TO 3RD COA Event Code: 5415
03/11/2021
             OTHER
               LETTER FROM JUDGE GUERRA GAMBLE Event Code: 5415
04/16/2021
             OTHER
               LETTER FROM 3RD COA Event Code: 5415
04/20/2021
             OTHER
               LETTER TO MR GAUDIN FROM JUDGE GUERRA GAMBLE Event Code: 5415
04/27/2021
             NOTICE
               NOTICE OF APPEARANCE ON BEHALF OF DEFENDANTS Event Code: 5554
               Party: Defendant JONES, ALEX E
04/27/2021

MOTION
 DEFENDANTS? UNOPPOSED MOTION FOR SUBSTITUTION OF COUNSEL AND WITHDRAWAL OF COUNSEL Event Code: 5265
 Party: Defendant JONES, ALEX E
05/14/2021
             OTHER
               MEDIA REQUEST Event Code: 5415
06/02/2021
             OTHER
               LETTER FROM JUDGE GAMBLE Event Code: 5415

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                                                 Case Summary
                                             Case No. D-1-GN-18-001835
06/03/2021
             OTHER
               LETTER FROM JUDGE GUERRA GAMBLE Event Code: 5415
06/04/2021
             ORDER
               MANDATE FROM 3RD COA Event Code: 8225
06/15/2021

MOTION
 DEFENDANTS' AMENDED UNOPPOSED MOTION FOR SUBSTITUTION OF COU NSEL AND WITHDRAWAL OF COUNSEL Event
 Code: 5265
 Party: Defendant JONES, ALEX E
06/15/2021
             OTHER
               UNSIGNED ORDER/PROPOSED ORDER Event Code: 5415
               Party: Defendant JONES, ALEX E
06/21/2021

ORDER
  ORDER GRANTING DEFENDANTS? AMENDED UNOPPOSED MOTION FOR SUBSTITUTION OF COUNSEL AND WITHDRAWAL
  OF COUNSEL Event Code: 8225
07/06/2021
             MOTION
              AGREED MOTION TO ENTER LEVEL 3 SCHEDULING ORDER Event Code: 5265
07/06/2021
             MOTION
              OPPOSED MOTION FOR PRO HAC VICE ADMISSION OF MARC J. RANDAZZ A Event Code: 5265
07/06/2021
             MOTION
              OPPOSED MOTION FOR PRO HAC VICE ADMISSION OF MARC J. RANDAZZ A Event Code: 5265
              Party: Defendant JONES, ALEX E
07/06/2021
             OTHER
               UNSIGNED ORDER/PROPOSED ORDER Event Code: 5415
               Party: Defendant JONES, ALEX E
07/06/2021
             MOTION
              PLAINTIFF?S SECOND MOTION FOR CONTEMPT UNDER RULE 215 Event Code: 5265
07/07/2021   ASM:CV MOTION FOR CONTEMPT
               Event Code: 635 Adjmt Amount: 80.00
07/07/2021

OTHER
  NON-PARTY AMOS PICTURES, LTD.?S REQUEST FOR ORDER TO ALLOW RECORDING AND BROADCASTING OF COURT
  PROCEEDINGS Event Code: 5415
07/12/2021
             ORDER
               ORDER OF CONSOLIDATION Event Code: 8225
07/12/2021
             ORDER
               LEVEL 3 SCHEDULING ORDER Event Code: 8225
07/19/2021
             ORDER
               ORDER ALLOWING RECORDING AND BROADCASTING OF COURT PROCEEDIN GS Event Code: 8225
07/23/2021
             ANSWER
               PLAINTIFFS? RESPONSE TO MOTION FOR PRO HAC VICE ADMISSION Event Code: 5150


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                                          Case No. D-1-GN-18-001835
07/30/2021
             ANSWER
               REPLY IN SUPPORT OF MOTION FOR PRO HAC VICE ADMISSION OF MAR C J. RANDAZZA Event Code: 5150
08/02/2021

ANSWER
  PLAINTIFFS? SUPPLEMENTAL RESPONSE TO MOTION FOR PRO HAC VICE REGARDING WITNESS TAMPERING IN THIS
  LAWSUIT Event Code: 5150
08/02/2021

ANSWER
  PLAINTIFFS? SUPPLEMENTAL RESPONSE TO MOTION FOR PRO HAC VICE REGARDING FALSE ACCUSATIONS AGAINST
  PLAINTIFFS? COUNSEL Event Code: 5150
08/09/2021

OTHER
  NEIL HESLINS 2ND SUPPLEMENTAL BRIEF ON DEFAULT SANCTIONS CONCERNING AUGUST 6 2021 ORDERS IN LAFFERTY
  Event Code: 5415
08/16/2021   Converted Event
08/17/2021
             MOTION
              SUPPLEMENT TO MOTION FOR PRO HAC VICE ADMISSION OF MARC J. RANDAZZA Event Code: 5265
08/18/2021
             NOTICE
               NOTICE OF INTENTION TO TAKE DEPOSITION BY WRITTEN QUESTIONS Event Code: 5554
08/18/2021

ANSWER
  PLAINTIFFS? RESPONSE TO DEFENDANTS? SUPPLEMENT TO MOTION FOR PRO HAC VICE ADMISSION Event Code: 5150
08/19/2021
             MOTION
              PLAINTIFFS' MOTION FOR PROTECTION REGARDING IN CAMERA REVIEW Event Code: 5265
08/30/2021   Converted Event
08/30/2021   Converted Event
08/30/2021

ANSWER
  DEFENDANTS' RESPONSE TO PLAINTIFF'S SUPPLEMENTAL BRIEF IN SUPPORT OF PLAINTIFF'S MOTION FOR DEFAULT
  JUDGMENT Event Code: 5150
  Party: Defendant JONES, ALEX E
08/30/2021

ANSWER
  DEFENDANTS? RESPONSE TO PLAINTIFF?S SECOND MOTION FOR CONTEMPT UNDER RULE 215 Event Code: 5150
  Party: Defendant JONES, ALEX E
08/31/2021
             ORDER
               ORDER REGARDING PROTOCOL FOR IN CAMERA REVIEW Event Code: 8225
08/31/2021
             ORDER
               ORDER DENYING MOTION FOR PRO HAC VICE ADMISSION OF MARC J RA NDAZZA Event Code: 8225
09/01/2021
             NOTICE
               PLAINTIFFS' NOTICE OF FILING DECLARATION REGARDING ATTORNEYS ' FEES Event Code: 5554
09/08/2021

ANSWER
  DEFENDANTS? OBJECTIONS AND RESPONSE TO PLAINTIFFS? DECLARATION REGARDING ATTORNEYS? FEES Event Code:
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                                        District Court

                                              Case Summary
                                          Case No. D-1-GN-18-001835
  5150
  Party: Defendant JONES, ALEX E
09/10/2021

ANSWER
  PLAINTIFFS? RESPONSE TO DEFENDANTS? OBJECTIONS TO DECLARATIO N REGARDING ATTORNEYS? FEES Event Code:
  5150
09/15/2021
             MOTION
              PLAINTIFFS? UNOPPOSED MOTION FOR PROTECTIVE ORDER OF CONFIDENTIALITY Event Code: 5265
09/15/2021   MOTION
              PLAINTIFFS? UNOPPOSED MOTION FOR PROTECTIVE ORDER OF CONFIDENTIALITY Event Code: 5265
09/15/2021

MOTION
 PLAINTIFF?S MOTION TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY REQUESTS AND MOTION FOR
 SANCTIONS Event Code: 5265
09/15/2021
             MOTION
              PLAINTIFFS? MOTION FOR PROTECTION REGARDING MARC RANDAZZA Event Code: 5265
09/15/2021
             MOTION
              PLAINTIFFS? MOTION FOR LEAVE TO SERVE NET WORTH DISCOVERY Event Code: 5265
09/15/2021
             NOTICE
               PLAINTIFFS? NOTICE REGARDING STATUS OF DISCOVERY Event Code: 5554
09/15/2021
             OTHER
               PLAINTIFF'S DESIGNATION OF EXPERTS Event Code: 5415
09/27/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON PLAINTIFF'S MOTION FOR DEFAULT JUDGMENT
               Party 2: Defendant JONES, ALEX E
10/05/2021
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
               ORDER ON ATTORNEYS FEES FOR PLAINTIFFS MOTIONS FOR SANCTIONS
10/07/2021
             RECEIPT OF EXHIBITS
               Event Code : 5411
10/11/2021

NOTICE
  NOTICE OF DELIVERY RE: CONTEMPORARY CARE PSYCHIATRIC CENTERS OF EXCELLENCE (MEDICAL/PSYCHIATRIC)
10/11/2021

NOTICE
  NOTICE OF DELIVERY RE: CONTEMPORARY CARE PSYCHIATRIC CENTERS OF EXCELLENCE (MEDICAL/PSYCHIATRIC)
10/22/2021

ANSWER
  DEFENDANTS RESPONSE TO PLAINTIFF S MOTION TO COMPEL RESPONSES TO SECOND SET OF DISCOVERY REQUESTS
  AND MOTION FOR SANCTIONS
10/22/2021
             OTHER
               UNSIGNED ORDER
10/22/2021
             ANSWER
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                        Defendant INFOWARS LLC;
                        Defendant JONES, ALEX E;
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               LETTER FROM 3RD COA
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             OTHER
               RULE 203 CERTIFICATION - MUELLER, CARL, F., M.D., MPH, M.S., F.A.P.A. (Billing)
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 Party: Defendant SHROYER, OWEN
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 Party: Defendant JONES, ALEX E
 Party 2: Attorney Reeves, Bradley Jordan
12/30/2021
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MOTION
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 Party: Defendant FREE SPEECH SYSTEMS LLC;
        Defendant INFOWARS LLC
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                      Defendant INFOWARS LLC;
                      Defendant JONES, ALEX E;
                      Defendant SHROYER, OWEN
              Party 2: Attorney Reeves, Bradley Jordan
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  Party 2: Attorney Blott, Jacquelyn W
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                      Defendant INFOWARS LLC;
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              Party 2: Attorney Bankston, Mark DuQuesnay
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             NOTICE
               NOTICE OF FILING OF DECLARATION ON ATTORNEY'S FEES
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                     Defendant INFOWARS LLC;
                     Defendant JONES, ALEX E;
                     Defendant SHROYER, OWEN
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                      Defendant JONES, ALEX E;
                      Defendant SHROYER, OWEN
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               NOTICE OF APPEARANCE OF ADDITIONAL COUNSEL
               Party 2: Attorney Moshenberg, Avishay
03/01/2022
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               Party 2: Attorney Moshenberg, Avishay
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               Party 2: Attorney Moshenberg, Avishay
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             NOTICE
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                       Defendant INFOWARS LLC;
                       Defendant JONES, ALEX E
               Party 2: Attorney REYNAL, FEDERICO ANDINO
03/08/2022
             NOTICE
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               Party: Defendant FREE SPEECH SYSTEMS LLC;
                       Defendant INFOWARS LLC;
                       Defendant JONES, ALEX E
               Party 2: Attorney REYNAL, FEDERICO ANDINO

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03/08/2022
             OTHER
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  ADMISSIONS
  Party: Defendant SHROYER, OWEN
  Party 2: Attorney Blott, Jacquelyn W
03/15/2022
             OTHER
               REQUEST FOR ORDER TO ALLOW MEDIA COVERAGE WITH CONSENT OF PARTIES OR WITNESSES
03/15/2022   OTHER
               REQUEST FOR ORDER TO ALLOW MEDIA COVERAGE WITH CONSENT OF PARTIES OR WITNESSES
03/25/2022
             ORDER (Judicial Officer: GAMBLE, MAYA GUERRA)
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               Party: Defendant JONES, ALEX E
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             MOTION
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              Party 2: Attorney Bankston, Mark DuQuesnay
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               AGREED ORDER ON PLAINTIFFS MOTION FOR LEAVE TO DESIGNATE EXPERT
               Party: Defendant JONES, ALEX E
03/28/2022
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                                                                                        Velva L. Price
                                                                                       District Clerk
                                                                                       Travis County
                                CAUSE NO. D-1-GN-18-001835
                                          _____________                             D-1-GN-18-001835
                                                                                      Selina Hamilton


NEIL HESLIN,                               §                   IN DISTRICT COURT OF
  Plaintiff                                §
                                           §
VS.                                        §                  TRAVIS COUNTY, TEXAS
                                           §
ALEX E. JONES, INFOWARS, LLC,              §
FREE SPEECH SYSTEMS, LLC, and              §                 261ST
                                                              ________ DISTRICT COURT
OWEN SHROYER,                              §
  Defendants                               §


       PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


       Plaintiff NEIL HESLIN files this original petition against Defendants, ALEX

JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC, and OWEN SHROYER, and

alleges as follows:

                            DISCOVERY CONTROL PLAN

       1.    Plaintiff intends to seek a customized discovery control plan under

Level 3 of Texas Rule of Civil Procedure 190.4.

                                       PARTIES

       2.    Plaintiff Neil Heslin in an individual residing in the State of Connecticut.

       3.    Defendant Alex E. Jones is a resident of Austin, Texas. He is the host of

radio and web-based news programing, including “The Alex Jones Show,” and he

owns and operates the website InfoWars.com. Mr. Jones can be served at his place of

business, InfoWars, 3019 Alvin Devane Blvd., Suite 300-350, Austin, TX 78741.



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       4.    Defendant InfoWars, LLC is a Texas limited liability company with

principal offices located in Austin, Texas. It may be served at the address of its

attorney, Eric Taube, at 100 Congress Avenue, 18th Floor, Austin, TX 78701.

       5.    Defendant Free Speech Systems, LLC is a Texas limited liability

company with principal offices located in Austin, Texas. It may be served at the

address of its registered agent, Eric Taube, at 100 Congress Avenue, 18th Floor,

Austin, TX 78701.

       6.    Defendant Owen Shroyer is an individual residing in Travis County. At

all times relevant to this suit, Mr. Daniels has been a reporter for InfoWars. Mr.

Shroyer can be served at the address of his employer, InfoWars, 3019 Alvin Devane

Blvd., Suite 300-350, Austin, TX 78741.

                              JURISDICTION & VENUE

       7.    The damages sought in this case exceed the minimum jurisdictional

limits of Travis County District Courts.

       8.    Venue is proper in Travis County, Texas, because a suit for damages for

defamation may be brought in the county in which a defendant resided at the time

of filing, or the domicile of any corporate defendant, at the election of the plaintiff.

See Tex. Civ. Prac. & Rem. Code §15.017.

                              FACTUAL BACKGROUND

       9.    Plaintiff Neil Heslin is the father of deceased minor J.L., a victim of the

December 14, 2012 Sandy Hook Elementary School Shooting.


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          10.     This case arises out of accusations by InfoWars in the summer of 2017

that Plaintiff was lying about whether he actually held his son’s body and observed a

bullet hole in his head. This heartless and vile act of defamation re-ignited the Sandy

Hook “false flag” conspiracy and tore open the emotional wounds that Plaintiff has

tried so desperately to heal.

          11.     This conspiracy theory, which has been pushed by InfoWars and Mr.

Jones since the day of the shooting, alleges that the Sandy Hook massacre did not

happen, or that it was staged by the government and concealed using actors, and

that the parents of the victims are participants in a horrifying cover-up.

          12.     During the June 18, 2017 profile of Jones for her NBC show Sunday

Night with Megyn Kelly, Ms. Kelly interviewed Plaintiff about the claims made by

Jones in the past, including that “the whole thing was fake” and “a giant hoax.”1

Addressing this hateful lie, Plaintiff told Kelly, “I lost my son. I buried my son. I held

my son with a bullet hole through his head.”2

          13.     On June 26, 2017, InfoWars’ broadcast featured a segment hosted by

reporter Owen Shroyer in which Shroyer claimed to have reviewed evidence

showing it was impossible for Plaintiff to have held his son and see his injury.

          14.     During the broadcast, Shroyer said, “The statement [Plaintiff] made,

fact-checkers on this have said cannot be accurate. He’s claiming that he held his son




1   https://www.realclearpolitics.com/video/2017/06/18/full_video_megyn_kelly_interviews_alex_jones.html
2   Id.

                                                     3
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and saw the bullet hole in his head. That is his claim. Now, according to a timeline of

events and a coroner’s testimony, that is not possible.” 3

       15.     As support for these defamatory statements, Shroyer played video

footage where the local medical examiner informed reporters that the slain students

were initially identified using photographs rather than in person.

       16.     Shroyer also stated, “You would remember if you held your dead kid in

your hands with a bullet hole. That’s not something you would just misspeak on.”4

       17.     Stroyer continued by stating that Plaintiff was “making a pretty

extreme claim that would be a very thing vivid in your memory, holding his dead

child.”5

       18.     “The conspiracy theorists on the internet out there have a lot of

questions are that are yet to be answered. You say whatever you want about the

event, that’s just a fact.”6

       19.     At the conclusion of his report, Shroyer stated, “Will there be a

clarification from Heslin or Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So

now they’re fueling the conspiracy theory claims. Unbelievable.” 7

       20.     The underlying point or gist of Shroyer’s report is that Plaintiff’s

version “is not possible” and “cannot be accurate,” and that Plaintiff was lying about

the circumstances of his son’s tragic death for a nefarious and criminal purpose.

3 https://www.infowars.com/zero-hedge-discovers-anomaly-in-alex-jones-hit-piece/
4 Id.
5 Id.
6 Id.
7 Id.


                                                  4
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       21.     Shroyer’s report was manifestly false. In addition, a minimal amount of

research would have caused any competent journalist not to publish the defamatory

accusation. According to contemporary news accounts, the bodies of the victims

were released from the medical examiner into the custody of the families.8 Funerals

where the children’s bodies were in the custody of their parents were widely

reported on by the press.9

       22.     On July 20, InfoWars programming featured a segment hosted by Alex

Jones in which Shroyer’s report was re-broadcast in full. When introducing the

segment, Jones demanded that Plaintiff “clarify” what actually happened.

       23.     After showing the segment, Jones said he told Shroyer, “I could never

find out. The stuff I found was they never let them see their bodies. That’s kind of

what’s weird about this. But maybe they did. So I’m sure it’s all real. But for some

reason they don’t want you to see [Shroyer’s segment].”10

       24.     Regarding the Sandy Hook shooting, Jones said, “Can I prove that New

Haven [sic] didn’t happen? No. So I’ve said, for years, we’ve had debates about it,

that I don’t know. But you can’t blame people for asking.” 11

       25.     Mr. Jones was lying. In the five years following the tragedy, he has

repeatedly and unequivocally called the Sandy Hook shooting a hoax.


8 https://patch.com/connecticut/newtown/police-no-motive-emerging-in-newtown-school-shooting
9 http://abcnews.go.com/US/photos/sandy-hook-moment-silence-18026580/image-18045101;
https://www.washingtonpost.com/politics/funerals-for-newtown-massacre-victims-
begin/2012/12/17/ffd0a130-486d-11e2-820e-17eefac2f939_story.html?utm_term=.0ccbbb4af100
10 https://www.mediamatters.org/blog/2017/07/21/alex-jones-sandy-hook-dad-needs-clarify-whether-he-

actually-held-his-son-s-body-and-saw-bullet-hole/217333
11 Id.


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        BACKGROUND TO INFOWARS’ 2017 DEFAMATORY STATEMENTS

       26.    In order to appreciate the full defamatory impact and the extent of the

mental anguish caused by InfoWars’ 2017 statements, it is necessary to understand

InfoWars’ long history of harassing the Sandy Hook parents with defamatory lies.

InfoWars’ 2017 statements are but the latest in a series of false, hurtful, and

dangerous assertions about Plaintiff and the parents of the other victims.

       27.    In 2013, Jones called the shooting “staged” and said, “It’s got inside job

written all over it.”12

       28.    In March 2014, Jones said, “Folks, we’ve got video of Anderson Cooper

with clear blue-screen out there. [Shaking head]. He’s not there in the town square.

We got people clearly coming up and laughing and then doing the fake crying. We’ve

clearly got people where it’s actors playing different parts for different people, the

building bulldozed, covering up everything. Adam Lanza trying to get guns five

times we’re told. The witnesses not saying it was him…I’ve looked at it and

undoubtedly, there’s a cover-up, there’s actors, they’re manipulating, they’ve been

caught lying, and they were pre-planning before it and rolled out with it.”13

       29.    In May 2014, InfoWars published an article titled: “CONNECTICUT

TRIES TO HIDE SANDY HOOK TRUTH.”14




12 https://www.mediamatters.org/blog/2013/04/15/alex-jones-on-boston-blasts-us-govt-is-prime-
su/193635; https://www.mediamatters.org/embed/clips/2016/11/29/51289/gcn-alexjones-20130409-
sandyhook
13 https://www.mediamatters.org/embed/clips/2016/11/29/51283/gcn-alexjones-20140314-shooting
14 https://www.infowars.com/connecticut-tries-to-hide-sandy-hook-truth/


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       30.     In September 2014, InfoWars published an article titled: “FBI SAYS NO

ONE KILLED AT SANDY HOOK.”15

       31.     In December 2014, Jones said on his radio program, “The whole thing

is a giant hoax. How do you deal with a total hoax? It took me about a year, with

Sandy Hook, to come to grips with the fact that the whole thing was fake. I did deep

research.”16

       32.     In the same December 2014 broadcast, Jones continued: “The general

public doesn’t know the school was actually closed the year before. They don’t know

they’ve sealed it all, demolished the building. They don’t know that they had the kids

going in circles in and out of the building as a photo-op. Blue screen, green screens,

they got caught using.”17

       33.     Jones made similar comments in January 2015, stating on InfoWars:

“You learn the school had been closed and re-opened. And you’ve got video of the

kids going in circles, in and out of the building, and they don’t call the rescue

choppers for two hours, and then they tear the building down, and seal it. And they

get caught using blue-screens, and an email by Bloomberg comes out in a lawsuit,

where he’s telling his people get ready in the next 24 hours to capitalize on a

shooting. Yeah, so Sandy Hook is a synthetic, completely fake with actors, in my

view, manufactured. I couldn’t believe it at first. I knew they had actors there,

clearly, but I thought they killed some real kids. And it just shows how bold they are

15 https://www.infowars.com/fbi-says-no-one-killed-at-sandy-hook/
16 https://www.realclearpolitics.com/video/2017/06/18/full_video_megyn_kelly_interviews_alex_jones.html
17 https://www.mediamatters.org/embed/clips/2016/11/29/51292/gcn-alexjones-20141228-sandyhook


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that they clearly used actors. I mean they even ended up using photos of kids killed

in mass shootings here in a fake mass shooting in Turkey, or Pakistan. The sky is

now the limit.”18

       34.    Mr. Jones’ statement about Pakistan refers to a conspiracy theory Jones

helped spread involving deceased minor child N.P., a Sandy Hook victim whose

photograph appeared at vigil for children slain a school attack in Peshawar. On the

day of the Peshawar incident, a Pakistani woman created a collage of photographs

of young people killed in school attacks and posted it to Facebook with the caption

“They Went to School and Never Came Back.” 19 Because the Peshawar shooting

occurred very close to the anniversary of the Sandy Hook massacre, she included a

picture of a child from the latter event, along with pictures of Peshawar victims. 20

That collage was then printed out and cut up into the individual photographs

displayed by mourners at a vigil for the Peshawar victims. 21

       35.    In the same month, January of 2015, InfoWars published an article

titled: “MYSTERY: SANDY HOOK VICTIM DIES (AGAIN) IN PAKISTAN.” 22 The article

states: “A large-scale attack on a school in Peshawar, Pakistan, last month left 132

school children and 10 teachers dead. Among the alleged victims emerged the

familiar face of [deceased minor N.P.], one of the children supposedly killed in the

December 2012 Sandy Hook school shooting in Newtown, Connecticut.” InfoWars’

18 https://www.mediamatters.org/embed/clips/2016/11/29/51290/gcn-alexjones-20150113-shooting
19 https://www.snopes.com/fact-check/info-boors/
20 Id.
21 Id.
22 https://www.infowars.com/mystery-sandy-hook-victim-dies-again-in-pakistan/


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story was meant to reinforce Mr. Jones’ persistent lie that N.P. and the other victims

of the shooting, such as Plaintiff’s son J.L., are not real.

          36.    In July 2015, Mr. Jones stated on InfoWars: “But you’ve got green-

screen with Anderson Cooper, where I was watching the video, and the flower and

plants were blowing in some of them, and then they blow again the same way. It’s

looped. And then his nose disappears. I mean, it’s fake. The whole thing is…I don’t

know what happened. It’s kind of like if you see a hologram at Disney World in the

Haunted House. You know? I don’t know how they do it, but it’s not real. When you

take your kids to see the Haunted House and ghosts are flying around, it’s not real,

folks. It’s staged. I mean, a magician grabs a rabbit out of his hat. I know he’s got a

box under the table that he reaches in and gets the rabbit. I don’t know what the

trick is here. I’ve got a good suspicion. But when you’ve got Wolfgang Halbig…He

believed it was real. People called him. He went and investigated. No paperwork, no

nothing. It’s bull. And now an FBI retired agent, who retired, you know, with

decorations. I mean, [InfoWars reporter Rob] Dew, this unprecedented.”23

          37.    In the same month, InfoWars published an article titled: “MEGA

MASSIVE COVER UP: RETIRED FBI AGENT INVESTIGATES SANDY HOOK.” 24

          38.    In January of 2016, Florida resident Lucy Richards left threatening

voicemail messages and sent violent emails to Leonard Pozner, a fellow Sandy Hook

parent and personal friend of Plaintiff Neil Heslin. The threats included messages


23   https://www.mediamatters.org/embed/clips/2016/11/29/51284/gcn-alexjones-20150707-shooting
24   https://www.infowars.com/mega-massive-cover-up-retired-fbi-agent-investigates-sandy-hook/

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stating: “you gonna die, death is coming to you real soon” and “LOOK BEHIND YOU

IT IS DEATH.”25 When Richards was later sentenced, Senior U.S. District Judge James

Cohn stated: “I'm sure [Leonard Pozner] wishes this was false, and he could

embrace [N.P.], hear [N.P.’s] heartbeat and hear [N.P.] say ‘I love you, Dad’…Your

words were cruel and insensitive. This is reality and there is no fiction. There are no

alternative facts.”26 As part of her sentence, Ms. Richards will not be permitted to

access a list of conspiracy-based websites upon her release, including InfoWars. 27

Ms. Richard’s arrest and sentencing are an ominous reminder to the Plaintiff of the

danger posed by InfoWars’ continuing lies about Sandy Hook.

       39.     In November 2016, Mr. Jones appeared on InfoWars and ranted about

false Sandy Hook claims for twenty minutes.28

       40.     During the November 2016 video broadcast, Mr. Jones stated: “That

shows some kind of cover-up happening. And then I saw Anderson Cooper -- I’ve

been in TV for twenty-something years, I know a blue-screen or a green-screen --

turn and his nose disappeared. Then I saw clearly that they were using footage on

the green-screen looped, because it would show flowers and other things during

other broadcasts that were moving, and then basically cutting to the same piece of




25 https://www.nbcnews.com/news/us-news/conspiracy-theorist-arrested-death-threats-against-sandy-
hook-parent-n693396
26 http://www.nydailynews.com/news/crime/judge-hands-sandy-hook-truther-prison-sentence-article-

1.3229754
27 https://www.buzzfeed.com/claudiakoerner/a-conspiracy-theorist-will-serve-time-for-threatening-a
28 https://www.youtube.com/watch?v=MwudDfz1yAk


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footage…Then we see footage of one of the reported fathers of the victims, Robbie

Parker, doing classic acting training.”29

         41.   The gist of these statements was that the Sandy Hook parents,

including Plaintiff Neil Heslin, are participating in a sinister manipulation plan to

fool the public.

         42.   During the November 2016 broadcast, Jones played video footage of

Anderson Cooper interviewing Sandy Hook parent Veronique De La Rosa, at which

point Jones stated: “We point out clear chromakey, also known as blue-screen or

greenscreen being used, and we’re demonized. We point out that they’re clearly

doing fake interviews.”30 This false statement was likewise used to support Mr.

Jones’ vicious lie.

         43.   Towards the end of the November 2016 broadcast, Mr. Jones stated:

“Why should anybody fear an investigation? If they have nothing to hide? In fact,

isn’t that in Shakespeare’s Hamlet? Methinks you protest too much…This particular

case, they are so scared of investigation. Everything they do ends up blowing up in

their face, so guys are going to get what you want now. I’m going to start re-

investigating Sandy Hook and everything else that happened with it.”31

         44.   Mr. Jones concluded the video by stating: “So, if children were lost at

Sandy Hook, my heart goes out to each and every one of those parents. And the

people who say they’re parents that I see on the news. The only problem is, I’ve

29 Id.
30 Id.
31 Id.


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watched a lot of soap operas. And I’ve seen actors before. And I know when I’m

watching a movie and when I’m watching something real.”32

          45.    The November 2016 video broadcast was entitled, “Alex Jones Final

Statement on Sandy Hook.” It was Plaintiff’s hope that the title was accurate, and

that Mr. Jones would finally end his reckless attacks on the Sandy Hook parents and

his assertions that they were liars and actors engaged in a fraud on the American

people.

          46.    As horrifying as the November 2016 broadcast was, its promise of

being the “Final Statement” gave hope to Plaintiff that his harassment and

defamation by Mr. Jones might be coming to an end after four long years.

          47.    Those hopes were soon dashed. Instead, InfoWars made continuing

defamatory comments in 2017 as outlined above.

          48.    Mr. Jones also made additional comments in April of 2017 which

repeated the claims which form the rickety structure of Mr. Jones’ colossal lie about

Sandy Hook, including the allegation that fellow Sandy Hook parent Veronique De La

Rosa conducted a fake interview with Anderson Cooper to hide the truth, while

telling his viewers not to “believe any of it.”33




32   Id.
33   https://www.youtube.com/watch?v=rUn1jKhWTXI

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         49.   On June 18, 2017, Mr. Jones made additional comments when

interviewed by Megyn Kelly, during which he stated: “I do think there's some cover-

up and some manipulation.”34 The following exchange took place:

                       MEGYN KELLY: But Alex, the parents, one after the
                       other, devastated. The dead bodies that the coroner
                       autopsied …

                       ALEX JONES: And they blocked all that. And they won't
                       release any of it. That's unprecedented.35

         50.   Jones and Kelly also had the following exchange:

                       JONES: But then what do you do, when they've got the
                       kids going in circles, in and out of the building with
                       their hands up? I've watched the footage. And it looks
                       like a drill.

                       MEGYN KELLY: When you say, "parents faked their
                       children's death," people get very angry.

                       ALEX JONES: Yeah, well, that's - oh, I know. But they
                       don't get angry about the half million dead Iraqis from
                       the sanctions. Or they don't get angry about all the
                       illegals pouring in.36

         51.   Shortly following the Megyn Kelly interview, on June 26, 2017,

InfoWars reporter Owen Shroyer made the defamatory statements referenced

above.

         52.   As such, the broadcasts made by InfoWars on June 26, 2017 and July

20, 2017 defaming Mr. Heslin did not occur in isolation. Rather, the statements were

a continuation and elaboration of a years-long campaign to falsely attack the

34 https://www.realclearpolitics.com/video/2017/06/18/full_video_megyn_kelly_interviews_alex_jones.html
35 Id.
36 Id.


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honesty of the Sandy Hook parents, casting them as participants in a ghastly

conspiracy and cover-up.

       53.   By making renewed accusations about Plaintiff in 2017, InfoWars

breathed new life into this conspiracy and caused intense emotional anguish and

despair. For that reason, Plaintiff brings this suit against Defendants.

                                  CAUSE OF ACTION

I.     Defamation and Defamation Per Se

       54.   All previous allegations are incorporated by reference.

       55.   Plaintiff is a private individual and is neither a public official nor a

public figure.

       56.   The June 26, 2017 and July 20, 2017 broadcasts by Defendants were

false, both in their particular facts and in the main point, essence, or gist in the

context in which they were made.

       57.   The June 26, 2017 and July 20, 2017 broadcasts by Defendants, while

defamatory in their own right, were also continuations and elaborations of an

underlying defamatory assertion which Defendants have advanced since 2013,

namely that Plaintiff has lied to the American people about the death of his son and

has participated in a horrifying criminal cover-up.

       58.   In viewing the June 26, 2017 and July 20, 2017 broadcasts, a

reasonable member of the public would be justified in inferring that the publications

implicated the Plaintiff.


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       59.      The June 26, 2017 and July 20, 2017 broadcasts were also defamatory

because they are reasonably susceptible to a defamatory meaning by innuendo. A

reasonable person, reviewing the statements in question, could conclude the

Plaintiff was being accused of engaging in fraudulent or illegal activity. In context,

the gist of the statements could be construed as defamatory to the Plaintiff by an

average member of general public.

       60.      Defendants’ defamatory publications were designed to harm Plaintiff’s

reputation and subject the Plaintiff to public contempt, disgrace, ridicule, or attack.

       61.      Defendants acted with actual malice. Defendants’ defamatory

statements were knowingly false or made with reckless disregard for the truth or

falsity of the statements at the time the statements were made.

       62.      Defendants’ defamatory statements were not privileged.

       63.      Defendants’ defamatory statements constitute defamation per se. The

harmful nature of the defamatory statements is self-evident. The defamatory

statements implicate the Plaintiff in heinous criminal conduct. False implications of

criminal conduct are the classic example of defamation per se.

       64.      Defendants publicly disseminated the defamatory publications to an

enormous audience causing significant damages to the Plaintiff.

       65.      Defendants’ defamatory publications have injured Plaintiff’s reputation

and image, and they have exposed Plaintiff to public and private hatred, contempt,

and ridicule.


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       66.   In light of their prior experience with these kind of reckless statements,

Defendants knew that their publication could cause Plaintiff to suffer harassment

and potential violence.

       67.   Defendants’ defamatory publications have and will continue to cause

harm to Plaintiff. Due to Defendants’ conduct, the Plaintiff has suffered and

continues to suffer substantial damages in an amount to be proven at trial.

III.   Conspiracy

       68.   All previous allegations are incorporated by reference.

       69.   Defendants acted together, as a cabal, to accomplish their campaign of

defamation. Defendants had a meeting of the minds on the object or course of action

underlying their pattern of recklessly defamatory publications.

       70.   As a result of this meeting of the minds, Defendants collectively

committed the unlawful overt acts detailed above.

       71.   Defendants are jointly and severally liable for the injuries Mr. Heslin

suffered due to Defendants’ wrongful actions.

IV.    Respondeat Superior

       72.   All previous allegations are incorporated by reference.

       73.   When InfoWars employees acted in the manner described in this

Petition, they did so as agents of InfoWars and within the scope of their authority

from Mr. Jones.




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       74.   InfoWars and Alex Jones are liable for the damages proximately caused

by the conduct of employees and agents, including Owen Shroyer, pursuant to the

doctrine of respondeat superior.

                                       DAMAGES

       75.   Plaintiff has suffered general and special damages, including a severe

degree of mental stress and anguish which has disrupted his daily routine and

caused a high degree of psychological pain.

       76.   Plaintiff has also suffered damage to his reputation and image, both up

to the present and into the future.

       77.   Because Defendants’ conduct amounts to defamation per se, Plaintiff is

also entitled to an award of presumed damages.

       78.   Plaintiff is also entitled to an award of nominal damages and a

judgment clearing his name.

       79.   Plaintiff is also entitled to exemplary damages because the Defendants

acted with malice.

       80.   Plaintiff is also entitled to pre-judgment and post-judgment interest,

costs of court, and attorney’s fees.

       81.   Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff is

seeking relief in excess of $1,000,000.




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                                      JURY DEMAND

       82.    Plaintiff demands a jury trial and tenders the appropriate fee with this

petition.

                              REQUEST FOR DISCLOSURE

       83.    Plaintiff requests that Defendants disclose, within 50 days of the

service of this request, the information or material described in Rule 194.2.

                                        PRAYER

       WHEREFORE PREMISES CONSIDERED, Plaintiff Neil Heslin asks that the

Court issue citation for each Defendant to appear and answer, and that Plaintiff be

awarded all the damages set forth above, and to grant whatever further relief to

which Plaintiff is justly entitled.



                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         KYLE W. FARRAR
                                         State Bar No. 24034828
                                         WILLIAM R. OGDEN
                                         State Bar No. 24073531
                                         1010 Lamar, Suite 1600
                                         Houston, Texas 77002
                                         713.221.8300 Telephone
                                         713.221.8301 Fax




                                           18
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                                       IVIL CASEEntered 04/18/22
                                                 INFORMATION     14:16:53 Exhibit B Pg 35 of 45
                                                               SHEET
           CAUSE NUMBER (FOR CLERK USE ONLY): _______________________________ COURT (FOR CLERK USE ONLY): ______________________

             STYLED ___________________________________________________________________________________________________
                     NEIL HESLIN VS. ALEX E. JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC, and OWEN SHROYER
                                 (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
1. Contact information for person completing case information sheet:                   Names of parties in case:                                     Person or entity completing sheet is:
                                                                                                                                                   X Attorney for Plaintiff/Petitioner
Name:                                     Email:                                       Plaintiff(s)/Petitioner(s):                                   Pro Se Plaintiff/Petitioner
                                                                                                                                                     Title IV-D Agency
_____________________________
 Mark D. Bankston                         ____________________________
                                           mark@fbtrial.com                            _________________________________
                                                                                        NEIL HESLIN                                                  Other: _________________________

Address:                                  Telephone:                                   _________________________________
                                                                                                                                                   Additional Parties in Child Support Case:
_____________________________
 1010 Lamar, Ste. 1600                    ____________________________
                                           (713) 221-8300
                                                                                       Defendant(s)/Respondent(s):                                 Custodial Parent:
City/State/Zip:                           Fax:                                                                                                     _________________________________
                                                                                       _________________________________
                                                                                       ALEX E. JONES, INFOWARS,
_____________________________
 Houston, Texas 77002                     ____________________________
                                           (713) 221-8301                              LLC, FREE SPEECH                                            Non-Custodial Parent:
                                                                                       _________________________________
                                                                                       SYSTEMS, LLC, and OWEN                                      _________________________________
Signature:                                State Bar No:
                                                                                       SHROYER
                                                                                       _________________________________                           Presumed Father:
_____________________________
 /s/ Mark D. Bankston                     ____________________________
                                           24034828                                                                                                _________________________________
                                                                                       [Attach additional page as necessary to list all parties]

2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                  Civil                                                                                                Family Law
                                                                                                                                                                 Post-judgment Actions
           Contract                       Injury or Damage                           Real Property                         Marriage Relationship                    (non-Title IV-D)
Debt/Contract                         Assault/Battery                            Eminent Domain/                            Annulment                            Enforcement
     Consumer/DTPA                    Construction                               Condemnation                               Declare Marriage Void                Modification—Custody
     Debt/Contract                  X Defamation                                 Partition                                Divorce                                Modification—Other
     Fraud/Misrepresentation        Malpractice                                  Quiet Title                                   With Children                           Title IV-D
     Other Debt/Contract:               Accounting                               Trespass to Try Title                         No Children                       Enforcement/Modification
     ____________________               Legal                                    Other Property:                                                                 Paternity
Foreclosure                             Medical                                   ____________________                                                           Reciprocals (UIFSA)
     Home Equity—Expedited              Other Professional                                                                                                       Support Order
     Other Foreclosure                   Liability:
  Franchise                              _______________                          Related to Criminal
  Insurance                           Motor Vehicle Accident                            Matters                                Other Family Law                Parent-Child Relationship
  Landlord/Tenant                     Premises                                   Expunction                                    Enforce Foreign                   Adoption/Adoption with
  Non-Competition                   Product Liability                            Judgment Nisi                                 Judgment                          Termination
  Partnership                           Asbestos/Silica                          Non-Disclosure                                Habeas Corpus                     Child Protection
  Other Contract:                       Other Product Liability                  Seizure/Forfeiture                            Name Change                       Child Support
   ______________________                List Product:                           Writ of Habeas Corpus—                        Protective Order                  Custody or Visitation
                                         _________________                       Pre-indictment                                Removal of Disabilities           Gestational Parenting
                                      Other Injury or Damage:                    Other: _______________                        of Minority                       Grandparent Access
                                        _________________                                                                      Other:                            Parentage/Paternity
                                                                                                                               __________________                Termination of Parental
         Employment                                                Other Civil                                                                                  Rights
                                                                                                                                                                 Other Parent-Child:
  Discrimination                         Administrative Appeal                   Lawyer Discipline                                                                _____________________
  Retaliation                            Antitrust/Unfair                        Perpetuate Testimony
  Termination                            Competition                             Securities/Stock
  Workers’ Compensation                  Code Violations                         Tortious Interference
  Other Employment:                      Foreign Judgment                        Other: _______________
   ______________________                Intellectual Property

               Tax                                                                              Probate & Mental Health
    Tax Appraisal                     Probate/Wills/Intestate Administration                                           Guardianship—Adult
    Tax Delinquency                        Dependent Administration                                                    Guardianship—Minor
    Other Tax                             Independent Administration                                                  Mental Health
                                           Other Estate Proceedings                                                  Other: ____________________

3. Indicate procedure or remedy, if applicable (may select more than 1):
    Appeal from Municipal or Justice Court                    Declaratory Judgment                                    Prejudgment Remedy
    Arbitration-related                                       Garnishment                                             Protective Order
    Attachment                                                Interpleader                                            Receiver
    Bill of Review                                            License                                                 Sequestration
    Certiorari                                                Mandamus                                                Temporary Restraining Order/Injunction
    Class Action                                              Post-judgment                                           Turnover
4. Indicate damages sought (do not select if it is a family law case):
    Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
    Less than $100,000 and non-monetary relief
    Over $100, 000 but not more than $200,000
    Over $200,000 but not more than $1,000,000
  X Over $1,000,000
                                                                                                                                                                                  Rev 2/13
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                                                                                  Travis County
                                                                               D-1-GN-18-001835
                                                                                Kirby Hernandez
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          D-1-GN-18-001835                                                  261ST District Court, Travis County

                                                            Original Petition

                     April 16, 2018



     Alex E. Jones

        3019 Alvin Devane Blvd., Ste. 300-350, Austin, Texas 78701




 X                                                               Lexitas Legal                             713-375-0121




     InfoWars, LLC


                     Eric Taube, 100 Congres Avenue, 18th Floor, Austin, Texas 78701




 X                                                                 Lexitas Legal                           713-375-0121




 Mark D. Bankston                                                                        24034828

              1010 Lamar, Ste. 1600
             713                      221-8300                                     713          221-8301

            mark@fbtrial.com
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         D-1-GN-18-001835                                                  261st District Court, Travis County

                                                           Original Petition

                    April 16, 2018



     Free Speech Systems, LLC



                    Eric Taube, 100 Congress Avenue, 18th Floor, Austin, Texas 78701




 X                                                              Lexitas Legal                              713-375-0121




     Owen Shroyer
        3019 Alvin Devane Blvd., Ste. 300-350, Austin, Texas 78741




 X                                                                Lexitas Legal                            713-375-0121




 Mark D. Bankston                                                                       24034828

             1010 Lamar, Ste. 1600
             713                     221-8300                                     713           221-8301

            mark@fbtrial.com
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                                                                                          Velva L. Price
                                                                                         District Clerk
                                                                                         Travis County
                                  NO. D-1-GN-18-001835                                D-1-GN-18-001835
                                                                                            Terri Juarez
NEIL HESLIN,                                 §              IN THE DISTRICT COURT OF
                                             §
       Plaintiff,                            §
                                             §
v.                                           §              TRAVIS COUNTY, TEXAS
                                             §
ALEX E. JONES, INFOWARS, LLC,                §
FREE SPEECH SYSTEMS, LLC, and                §
OWEN SHROYER,                                §
      Defendants                             §              261st JUDICIAL DISTRICT

                          DEFENDANTS’ ORIGINAL ANSWER

       COMES NOW, Defendants Alex Jones, Infowars, LLC, Free Speech Systems,

LLC, and Owen Shroyer (collectively, the “Defendants”), hereby file this Original

Answer and show the Court the following:

                                             I.

                                  GENERAL DENIAL

       Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally

deny each and every, all and singular, the material allegations contained in Plaintiff’s

Original Petition and demand strict proof thereof by a preponderance of the evidence.

                                            II.

                      AFFIRMATIVE AND OTHER DEFENSES

       Pursuant to Rule 94 of the Texas Rules of Civil Procedure, Defendants plead the

following:

       2.01    For further answer if need be, Defendants allege that Plaintiff’s claims are

barred by the Statute of Limitations.

       2.02    For further answer if need be, Defendants allege that Plaintiff’s claims are


DEFENDANTS’ ORIGINAL ANSWER                                                           Page 1
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barred because the alleged defamatory claims/broadcasts constitute Defendants’ opinions.

                                           III.

                                RELIEF REQUESTED

       WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff take

nothing by his suit and that Defendants be allowed to go hence without day and with all

costs and that the Court grant such other and further relief, at law or in equity, to which

Defendants may prove themselves to be justly entitled and for which they will ever pray.


                                          GLAST, PHILLIPS & MURRAY, P.C.

                                                 /s/ Preston C. Enoch
                                          Mark C. Enoch
                                          State Bar No. 06630360
                                          Preston C. Enoch
                                          State Bar No. 24097657

                                          GLAST, PHILLIPS & MURRAY, P.C.
                                          14801 Quorum Drive, Suite 500
                                          Dallas, Texas 75254-1449
                                          Telephone: 972-419-8366
                                          Facsimile: 972-419-8329
                                          fly63rc@verizon.net
                                          penoch@gpm-law.com

                                          ATTORNEYS FOR DEFENDANTS




DEFENDANTS’ ORIGINAL ANSWER                                                          Page 2
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                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been
served upon the parties listed below via email and via efile.txcourts.gov’s e-service
system on June 18, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002




                                                    /s/ Mark C. Enoch
                                              Mark C. Enoch




DEFENDANTS’ ORIGINAL ANSWER                                                      Page 3
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                                                                                                      Travis County
                                                                                                   D-1-GN-18-001835
                                      GLAST, PHILLIPS & MURRAY                                     Sandra Henriquez
                                           A PROFESSIONAL CORPORATION
   MARK C. ENOCH, J.D., M.B.A.
          (972) 419-8366                                                             (972) 419-8300
       fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                          14801 QUORUM DRIVE, SUITE 500                __________
  BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
      TEXAS BOARD OF LEGAL
          SPECIALIZATION


                                                June 27, 2018



Via efiling

Clerk, 261st District Court
Travis County
1000 Guadalupe, 5th floor
Austin, TX 78701

          Re:       Vacation/Unavailability Letter; Neil Heslin v. Alex E.
                    Jones, Infowars, LLC, Free Speech Systems, LLC and Owen
                    Shroyer; Cause No. D-1-GN-18-001835, 261st District Court,
                    Travis County, Texas
Dear Clerk:

          I will be on vacation/unavailable on the following dates:

July 14 – August 1
August 12 – August 22

       Please do not schedule any hearings or court trial dates during this time-frame. By
copy of this letter I am requesting that opposing counsel not schedule any hearings or
depositions during this time period as well. Thank you for your attention to this matter.


                                                            Very truly yours,

                                                            /s/ Mark C. Enoch

                                                            Mark C. Enoch


MCE:mji
cc: Mr. Mark D. Bankston (via e-service)
22-01023-hcm Doc#1-3 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B Pg 43 of 45
                                                                                                           6/28/2018 3:29 PM
                                                                                                                            Velva L. Price
                                                                                                                           District Clerk
                                                                                                                           Travis County
                                                                                                                        D-1-GN-18-001835
                                                                                                                        Sandra Henriquez




                                                                                                               June 28, 2018
Via E:File

261st District Clerk
Travis County, Texas
1000 Guadalupe Street
Austin, Texas 78701

       Re:      Vacation/Unavailability Letter; Cause No. D-1-GN-18-001835, Neil Heslin vs.,
                Alex E. Jones, InfoWars, LLC, Free Speech Systems, LLC, and Owen Shroyer, In
                the 261st Judicial District Court of Travis County, Texas.

Dear Sir or Madam:

I will be on vacation/unavailable on the following dates:

       August 2, 2018, through August 10, 2018.

        Please do not schedule any hearings or court trial dates during this time frame. By copy
of this letter, I am requesting that opposing counsel not schedule any hearings or depositions
during this time-period as well. Thank you for your attention to this matter.

                                                                       Most sincerely,



                                                                       Mark Bankston

cc:    BY ELECTRONIC TRANSMISSION: fly63rc@verizon.net
       Mr. Mark C. Enoch
       Glast, Phillips & Murray, P.C.
       14801 Quorum Drive, Ste. 500
       Dallas, Texas 75254




           1010 Lamar, Suite 1600 • Houston, Texas 77002 • Ph: 713.221.8300 • Fax: 713.221.8301   | www.fbtrial.com
22-01023-hcm Doc#1-3 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B Pg 44 of 45
                                                                                     6/29/2018 9:55 AM
                                                                                                      Velva L. Price
                                                                                                     District Clerk
                                                                                                     Travis County
                                                                                                  D-1-GN-18-001835
                                      GLAST, PHILLIPS & MURRAY                               Hector Gaucin-Tijerina
                                           A PROFESSIONAL CORPORATION
   MARK C. ENOCH, J.D., M.B.A.
          (972) 419-8366                                                             (972) 419-8300
       fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                          14801 QUORUM DRIVE, SUITE 500                __________
  BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
      TEXAS BOARD OF LEGAL
          SPECIALIZATION


                                                June 29, 2018



Via efiling

Clerk, 261st District Court
Travis County
1000 Guadalupe, 5th floor
Austin, TX 78701

          Re:       Amended Vacation/Unavailability Letter; Neil Heslin v.
                    Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and
                    Owen Shroyer; Cause No. D-1-GN-18-001835, 261st District
                    Court, Travis County, Texas
Dear Clerk:

          I will be on vacation/unavailable on the following dates:

July 14 – August 1
August 12 – August 26

       Please do not schedule any hearings or court trial dates during this time-frame. By
copy of this letter I am requesting that opposing counsel not schedule any hearings or
depositions during this time period as well. Thank you for your attention to this matter.


                                                            Very truly yours,

                                                            /s/ Mark C. Enoch

                                                            Mark C. Enoch


MCE:mji
cc: Mr. Mark D. Bankston (via e-service)
22-01023-hcm Doc#1-3 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B Pg 45 of 45
                                                                                    6/29/2018 10:10 AM
                                                                                                      Velva L. Price
                                                                                                     District Clerk
                                                                                                     Travis County
                                                                                                  D-1-GN-18-001835
                                      GLAST, PHILLIPS & MURRAY                                     Raeana Vasquez
                                           A PROFESSIONAL CORPORATION
   MARK C. ENOCH, J.D., M.B.A.
          (972) 419-8366                                                             (972) 419-8300
       fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                          14801 QUORUM DRIVE, SUITE 500                __________
  BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
      TEXAS BOARD OF LEGAL
          SPECIALIZATION


                                                June 29, 2018



Via efiling

Clerk, 261st District Court
Travis County
1000 Guadalupe, 5th floor
Austin, TX 78701

          Re:       Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech
                    Systems, LLC and Owen Shroyer; Cause No. D-1-GN-18-
                    001835, 261st District Court, Travis County, Texas
Dear Clerk:

       The Court’s online docket for this case indicates that Preston Enoch is the counsel
of record for defendants in the captioned case. Preston Enoch is no longer part of the
Glast, Phillips & Murray, P.C. firm or associated with this case. We request that you
correct your records to reflect that the undersigned, Mark Enoch with Glast, Phillips &
Murray, P.C., is counsel for all defendants.

          Thank you for your attention to this request.


                                                            Very truly yours,

                                                            /s/ Mark C. Enoch

                                                            Mark C. Enoch


MCE:mji
cc: Mr. Mark D. Bankston (via e-service)
